United States District Court
Northern District of California

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

AASYLE] LOGGERVALE, AAOTTAE
LOGGERVALE, and AASYLEI

HARDGE-LOGGERVALE, No. C 20-04679 WHA
Plaintiffs,
Me AMENDED SPECIAL VERDICT
STEVEN. HOLLAND, MONICA POPE, PORM
and COUNTY OF ALAMEDA,
Defendants.

 

YOUR ANSWERS MUST BE UNANIMOUS.

1. Have plaintiffs proven by a preponderance of the evidence that Deputy Steven Holland

violated any of plaintiffs’ constitutional rights?

 

 

Yes , No
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If you answered “Yes” to any blank, then go on to Question 2. If you answered “No” to

all blanks, then go to Question 5.

 
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2. If you answered “Yes” to any part of the previous Question 1, state whether plaintiffs
have proven by a preponderance of the evidence that any reasonable deputy in Deputy
Holland’s shoes, charged with knowledge known by deputies at the scene as you find it to
have been at the time of the violation, would have known that he was violating that
constitutional right. Answer only as to those blanks where you answered “Yes” in the

prior Question.

6S No
Ms. Aasylei Loggervale

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If you have answered “Yes” on Questions | and.2 as to one or more plaintiffs, then you have
found Deputy Holland, to that extent, liable under Section 1983 of Title 42 of the United States

Code. Regardless, go to Question 3.

3. Have plaintiffs proven by a preponderance of the evidence that Alameda County ratified
(and is therefore liable for) any alleged violation(s) by Deputy Holland as found in the
response to Question 1?

Yes No
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If you answered “Yes” to any plaintiff then, as to that plaintiff, you have found the County of
Alameda liable for any section 1983 constitutional violations by Deputy Holland. Regardless,

go to Question 4.

4. If you have answered “Yes” to any part of Question 1, state whether plaintiffs have
proven by a preponderance of the evidence that Deputy Holland violated the Bane Act,

California Civil Code Section 52.1, as to the following:

Yes No
Ms. Aasylei Loggervale “~~
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If you have answered “Yes” on Questions | and 4 as to one or more plaintiffs, then you have
found Deputy Holland and the County of Alameda liable under the Bane Act. Regardless, go to

Question 5.

5. Have plaintiffs proven by a preponderance of the evidence that any reasonable deputy
standing in the shoes of Deputy Monica Pope and charged with knowledge known by
deputies at the scene as you find it to have been at the time of the violation would have
known that she was violating the constitutional rights of the following plaintiffs?

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Note: The Court has already told you the searches for the identifications of the two passengers
violated the Fourth Amendment. Deputy Pope did not search for Ms. Loggervale’s
identification. If you answered “Yes” to this question, then you have found Deputy Pope liable.

Go to Question 5A.

SA. Have plaintiffs proven by a preponderance of the evidence that Alameda County

ratified (and is therefore liable for) the constitutional violations committed by Deputy

Pope?
Yes No
Aaottae Loggervale “
Aasyeli Hardge-Loggervale x

If you answered “Yes” to question SA as to any plaintiffs then as to that plaintiff you
have found the County of Alameda liable for a Section 1983 constitutional violation by Deputy

Pope. Go to question 6,

 
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6. Ifyou have found any defendant liable, what damages, if any, have plaintiffs proven by a

preponderance of the evidence by reason of unlawful conduct?
Deputy Holland Deputy Pope

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Do not worry about a column for Alameda County. Fill in the blanks above, the judge will
assess the amounts, if any, for which Alameda County is liable based upon your answers to 1, 3,
4, and 5A. Answer only as to any blanks for plaintiff-defendant combinations for which you

found liability. Go to Question 7.

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7. Ifyou have found Deputy Holland liable, have plaintiffs proven by a preponderance of
the evidence that the conduct of Deputy Holland was malicious, oppressive, or in reckless
disregard of plaintiffs’ constitutional rights such that punitive damages should be

awarded against him?
Yes No /

If you answered “Yes,” we will take a brief recess and then resume proceedings before you so

that you can determine the amount of punitive damages.

2023
Dated: wu | °

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